               Case 24-30681-sgj11                    Doc 8 Filed 03/12/24 Entered 03/12/24 10:17:30                                      Desc
                                                      Notice of Ch11 Mtg I/J Page 1 of 3

 Information to identify the case:

 Debtor 1:
                       David M Godat                                                    Social Security number or ITIN:    xxx−xx−9600
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        Northern District of Texas                      Date case filed for chapter:          11       3/7/24

            24−30681−sgj11
 Case number:

Official Form 309E1 (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/22

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            David M Godat

 2. All other names used in the
    last 8 years

 3. Address                                       3601 Harvard Ave
                                                  Dallas, TX 75205

 4. Debtor's attorney                                                                                    Contact phone __________________________
       Name and address                           None
                                                                                                         Email

 5. Bankruptcy clerk's office                                                                             Hours open:
       Documents in this case may be filed                                                                Mon.−Fri 8:30−4:30
                                                  1100 Commerce Street
       at this address.                           Room 1254
       You may inspect all records filed in                                                               Contact phone 214−753−2000
                                                  Dallas, TX 75242
       this case at this office or online at
       https://pacer.uscourts.gov.                                                                        Date: 3/13/24

                                                                                                           For more information, see page 2 >




Official Form 309E1 (For Individuals or Joint Debtors)                   Notice of Chapter 11 Bankruptcy Case                                         page 1
           Case 24-30681-sgj11                   Doc 8 Filed 03/12/24 Entered 03/12/24 10:17:30                                                 Desc
                                                 Notice of Ch11 Mtg I/J Page 2 of 3
Debtor David M Godat                                                                                                        Case number 24−30681−sgj11

 6. Meeting of creditors                                                                              Trustee: United States Trustee
     Debtors must attend the meeting to    April 10, 2024 at 11:00 AM BY TELEPHONE Toll free number: 866−818−4670
     be questioned under oath. In a joint
                                                                                                      Alternate number: 203−480−2179
     case, both spouses must attend.       The meeting may be continued or adjourned to a later date.
     Creditors may attend, but are not     If so, the date will be on the court docket.               Participant Code: 3304120
     required to do so.
     Debtor attorneys will be responsible for verifying both the debtors' photo ID and the debtors' social security number on the record. If you
     are a pro se debtor who appears by telephone, the trustee may require that you appear at a continued meeting in order to present your
     proof of identification and social security number and to affirm that you were the one who testified at the telephonic meeting.

 7. Deadlines                               Deadline to file a complaint objecting to discharge or to challenge whether certain
    The bankruptcy clerk's office must      debts are dischargeable (see line 10 for more information):
    receive these documents and any         • if you assert that the debtor is not entitled to receive a discharge of any debts under 11 U.S.C. §
    required filing fee by the following    1141(d)(3), the deadline is the first date set for hearing on confirmation of the plan. The court or its designee
    deadlines.                              will send you notice of that date later.
                                            • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6), the deadline
                                            is: __________.


                                            Deadline for filing proof of claim:
                                            For all creditors (except a governmental unit): 7/9/24
                                            For a governmental unit:                        9/3/24
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                            Your claim will be allowed in the amount scheduled unless:
                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                            file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                            may file a proof of claim even if your claim is scheduled.
                                            You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                            of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                            explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.


                                            Deadline to object to exemptions:                                 Filing Deadline:
                                            The law permits debtors to keep certain property as               30 days after the conclusion of the meeting of
                                            exempt. If you believe that the law does not authorize an         creditors
                                            exemption claimed, you may file an objection.

                                            If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

                                            Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                            court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                            and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                            hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                            is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                            business.

                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                            all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                            from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                     should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                            and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                            entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                            the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                            send you another notice telling you of that date.

                                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                        as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                            you believe that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                            The bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.




Official Form 309E1 (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                               page 2
        Case 24-30681-sgj11           Doc 8 Filed 03/12/24 Entered 03/12/24 10:17:30                     Desc
                                      Notice of Ch11 Mtg I/J Page 3 of 3
        INFORMATION FOR THE TELEPHONIC § 341 MEETING OF CREDITORS


Because of developing issues with the COVID−19 virus and the national declaration of emergency by the President
of the United States, § 341 Meetings of Creditors (?Meetings?) will be conducted telephonically. The telephone call
in numbers and participant code are found on the enclosed Notice.



Additional Dial−In Information:

(1) You must use a touch−tone phone to participate.

(2) Landline preferred. If you have a choice, use a landline phone, instead of a cell phone. Do not use a speaker
phone.

(3) Dial the call−in number and then enter the participant code, which consists of 7 numbers and is followed by a #
sign. Immediately place your phone on mute.

(4) Make the call from a quiet area where there is as little background noise as possible.

(5) As more than one Meeting will be held during this period, listen for your case to be called. When your case is
called, unmute your phone and identify yourself.

(6) When speaking during your case, identify yourself.

(7) Do not put the phone on hold at any time after the call is connected.

(8) If any party is attending the Meeting from the same location as another party, use separate touch−tone phones to
participate.

(9) Once the case Meeting is finished, hang up.

(10) If you become disconnected before your Meeting is finished, call back.



Bankruptcy Documents:

Debtors should have their bankruptcy documents available in the event there are questions about the information in
the documents.

Recording: The Meetings will be recorded by the trustee or United States Trustee.
